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                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,
                                             FILED UNDER SEAL
                Defendant.



    GOVERNMENT’S MOTION FOR LEAVE TO FILE PARTIALLY UNDER SEAL

       The United States of America, by and through undersigned counsel, respectfully moves for

leave to file partially under seal Attachments 1 through 6 to this motion. Attachment 1 is an

unredacted version of the Government’s Renewed Motion for an Early Return Trial Subpoena.

Attachments 2 through 6 are exhibits to the motion.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case). While there is a “strong

presumption in favor of public access to judicial proceedings,” Johnson v. Greater SE Cmty.

Hosp. Corp., 951 F.2d 1268, 1277 (D.C. Cir. 1991), that presumption is not absolute.

       Here, sealing is appropriate for several reasons. First, the motion refers to information

produced in discovery but protected from disclosure pursuant to the Revised Protective Order.

Second, the motion contains non-public information regarding anticipated witness testimony and

evidence that the government may seek to introduce at trial. Sealing is appropriate to protect the
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identity of the anticipated witness, and to avoid unnecessary prejudice to defendant Concord

Management and Consulting LLC that may result from pretrial public disclosure of this

information. If the Court grants the government’s motion to seal, the government will promptly

file a redacted version of the motion and exhibits on the public docket.

                                      Respectfully submitted,


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